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                                                                                   December 24, 2020
                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA



  In the Matter of the Creation of the              )
  Calendar                                          )      ORDER OF THE CHIEF JUDGE
                                                    )
  of                                                )                  20-195
                                                    )
  Judge FERNANDO L. AENLLE-ROCHA                    )
                                                    )

        Pursuant to the recommended procedure adopted by the Court for the creation of the
  calendar of Judge Fernando L. Aenlle-Rocha,

        IT IS HEREBY ORDERED that the following cases are hereby transferred from the
  calendar of Judge Stephen V. Wilson to the calendar of Fernando L. Aenlle-Rocha:


       2:16-cv-04363-SVW-GJSx            Wilshire Manor Apartments, LLC v. State Farm
                                         General Insurance Company
       2:18-cv-08809-SVW-                Natasha Ayala v. AT and T Mobility Services,
       MRWx                              LLC, et al
       2:19-cv-08624-SVW-JPRx            Nika Hosseinalizadeh Noori et al v. Jaguar Land
                                         Rover North America, LLC et al
       2:20-cv-03764-SVW-ASx             Sealed v. Sealed
       *SEALED*
       2:20-cv-03941-SVW-RAO             Andrei Stetsky v. Kelly Mitchell Group, Inc. et al
       2:20-cv-05288-SVW-Ex              Norvell Fobi v. City of Los Angeles, et al
       2:20-cv-06801-SVW-JEMx            Sherrill Furniture Company v. Herbert D. Buttercup
                                         L.P.
       2:20-cv-09321-SVW-RAOx            Jersey S. Wilson v. Midland Credit Management,
                                         Inc.
       2:20-cv-09823-SVW-                Mark Lichtman et al v. Frank Miller et al
       MRWx
       2:20-cv-09864-SVW-KSx             Five Points Trading Corp. v. Supremas, Inc. et al
       2:20-cv-09967-SVW-KSx             Sergio Cervantes v. FCA US LLC, et al
       2:20-cv-10215-SVW-JCx             Vincent McAllister v. Citibank, N.A. et al
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  In the Matter of the
  Creation of Calendar for
  District Judge Fernando L. Aenlle-Rocha                                                2


       2:20-cv-10264-SVW-MAA           Larry G. Philpot v. Leaf Group Ltd.
       2:20-cv-10626-SVW-RAOx          Fidel Hernandez v. North Main Service et al
       2:20-cv-10656-SVW               In re Hawkeye Entertainment, LLC
       2:20-cv-10911-SVW-              Los Angeles Times Communications LLC v. U.S.
       MRWx                            Department of Homeland Security et al
       2:20-cv-11131-SVW-PD            Michael Shawn Murphy v. Andrew Saul
       5:19-cv-01221-SVW-PVC           Brian Thomas Matheis v. Patrick Covello
       5:19-cv-02426-SVW-SP            John Amador v. Commissioner of Social Security
       5:20-cv-02603-SVW-SHKx          Orlando Garcia v. Ontario Lodging Associates,
                                       LLC et al

        On all documents subsequently filed in the case, please substitute the Judge initials
                                         he initials of the prior Judge.
  FLA after the case number in place of the


  DATED: December 24, 2020
                                                      Chief Judge Philip S. Gutierrez
